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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
FOREVER 21, INC., et al.,1                                        )   Case No. 19-12122 (KG)
                                                                  )
                                   Debtors.                       )   (Jointly Administered)
                                                                  )   Re: Docket Nos. 802, 854, 857

                                 NOTICE OF SUSPENDED AUCTION


         PLEASE TAKE NOTICE that on January 30, 2020, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), filed the Debtors’ Motion for Entry of an

Order (A) Approving Bidding Procedures and Bid Protections in Connection with the Sale of

Substantially All of the Debtors’ Assets, (B) Approving the Form and Manner of Notice Thereof,

(C) Scheduling an Auction and Sale Hearing, (D) Approving Procedures for the Assumption and

Assignment of Contracts, (E) Approving the Sale of the Debtors’ Assets, and (F) Granting

Related Relief [Docket No. 802] (the “Motion”) with the United States Bankruptcy Court for the

District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801

(the “Bankruptcy Court”).2

         PLEASE TAKE FURTHER NOTICE that, on February 4, 2020, the Bankruptcy Court

entered the Order (A) Approving Bidding Procedures and Bid Protections in Connection with the

Sale of Substantially All of the Debtors’ Assets, (B) Approving the Form and Manner of Notice

Thereof, (C) Scheduling an Auction and Sale Hearing, (D) Approving the Sale of the Debtors’

Assets, and (E) Granting Related Relief [Docket No. 854] (the “Order”) approving Bidding

1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Forever 21, Inc. (4795); Alameda Holdings, LLC (2379); Forever 21 International Holdings,
    Inc. (4904); Forever 21 Logistics, LLC (1956); Forever 21 Real Estate Holdings, LLC (4224); Forever 21
    Retail, Inc. (7150); Innovative Brand Partners, LLC (7248); and Riley Rose, LLC (6928). The location of the
    Debtors’ service address is: 3880 N. Mission Road, Los Angeles, California 90031.
2   Capitalized terms used but not otherwise defined herein have the meanings given to such terms in the Motion.
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Procedures to govern the sale of substantially all of the Debtors’ assets (the “Bidding

Procedures”) and the Stalking Horse Bid (as defined herein).

         PLEASE TAKE FURTHER NOTICE that on February 4, 2020, the Debtors filed the

Notice of Filing of Final Stalking Horse Purchase Agreement [Docket No. 859] attaching the

Asset Purchase Agreement by and among Forever 21, Inc., the other Sellers Party Hereto, and

SPARC Group F21, LLC (the “Stalking Horse Bid”) as Exhibit A.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Order and the Bidding

Procedures, the Auction was scheduled for February 10, 2020, at 10:00 a.m. (prevailing Eastern

Time).

         PLEASE TAKE FURTHER NOTICE that the Auction will not be proceeding on

February 10, 2020 and the Debtors reserve the right to hold the Auction on an adjourned date.

         PLEASE TAKE FURTHER NOTICE that the Debtors have not yet received any

Qualified Bids (other than the Stalking Horse Bid).

         PLEASE TAKE FURTHER NOTICE that, subject to adjournment of the hearing, the

Debtors will go forward with the hearing on February 11, 2020 to approve the Stalking Horse

Bid as the Successful Bidder absent further notice (including as a result of any adjourned

Auction).

         PLEASE TAKE FURTHER NOTICE that in the event the hearing to approve the

Stalking Horse Bid as the Successful Bidder is continued or the Auction is rescheduled the

Debtors will file a notice on the Bankruptcy Court’s docket before February 10, 2020 at

3:00 p.m. prevailing Eastern Time.




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